   Case Case: 21-30505   Document:
        2:21-cv-00778-TAD-KK       00516503143
                             Document             Page: 1 Page
                                       224 Filed 10/11/22  Date1Filed:
                                                                 of 1110/11/2022
                                                                       PageID #: 7771




                               United States Court of Appeals
                                    for the Fifth Circuit                           United States Court of Appeals
                                                                                             Fifth Circuit

Certified as a true copy and issued              ___________                               FILED
as the mandate on Oct 11, 2022                                                       August 17, 2022
Attest:
                                                  No. 21-30505                        Lyle W. Cayce
Clerk, U.S. Court of Appeals, Fifth Circuit
                                                 ___________                               Clerk

                  State of Louisiana; State of Alabama; State of Alaska;
                  State of Arkansas; State of Georgia; State of
                  Mississippi; State of Missouri; State of Montana; State
                  of Nebraska; State of Oklahoma; State of Texas; State
                  of Utah; State of West Virginia,

                                                                           Plaintiffs—Appellees,

                                                      versus

                  Joseph R. Biden, Jr., in his official capacity as President of the United
                  States; Deb Haaland, in her official capacity as Secretary of the Interior;
                  Michael Nedd, in his official capacity as Deputy Director of the Bureau of
                  Land Management; Chad Padgett, in his official capacity as Director of
                  the Bureau of Land Management Alaska Office; Raymond Suazo, in his
                  official capacity as Director for the Bureau of Land Management Arizona Office;
                  Karen Mouritsen, in her official capacity as Director for the Bureau of
                  Land Management California Office; Jamie Connell, in his official
                  capacity as Director for the Bureau of Land Management Colorado Office;
                  Mitchell Leverette, in his official capacity as Director for the Bureau of
                  Land Management Eastern States Office; John Ruhs, in his official capacity
                  as Director for the Bureau of Land Management Idaho Office; John
                  Mehlhoff, in his official capacity as Director for the Bureau of Land
                  Management Montana-Dakotas Office; Jon Raby, in his official capacity as
                  Director for the Bureau of Land Management Nevada Office; Steve Wells,
                  in his official capacity as Director for the Bureau of Land Management New
                  Mexico Office; Barry Bushue, in his official capacity as Director for the
                  Bureau of Land Management Oregon-Washington Office; Greg Sheehan,
                  in his official capacity as Director for the Bureau of Land Management Utah
                  Office; Kim Liebhauser, in her official capacity as Director for the Bureau
Case Case: 21-30505   Document:
     2:21-cv-00778-TAD-KK       00516503143
                          Document             Page: 2 Page
                                    224 Filed 10/11/22  Date2Filed:
                                                              of 1110/11/2022
                                                                    PageID #: 7772
                                         No. 21-30505




        of Land Management Wyoming Office; Amanda Lefton, in her official
        capacity as Director of the Bureau of Ocean Energy Management; Michael
        Celata, in his official capacity as Regional Director of the Bureau of Ocean
        Energy Management Gulf of Mexico Office; Lars Herbst, in his official
        capacity as Regional Director of the Bureau of Safety and Environmental
        Enforcement Gulf of Mexico OCS Office; Mark Fesmire, in his official
        capacity as Regional Director of the Bureau of Safety and Environmental
        Enforcement Alaska and Pacific Office,

                                                Defendants—Appellants.
                         ____________________________

                       Appeal from the United States District Court
                          for the Western District of Louisiana
                                 USDC No. 2:21-CV-778
                        ____________________________

        Before Higginbotham, Dennis, and Graves, Circuit Judges.

                                     JUDGMENT

               This cause was considered on the record on appeal and was argued by
        counsel.
               IT IS ORDERED and ADJUDGED that the judgment of the
        District Court is VACATED and REMANDED to the District Court for
        further proceedings in accordance with the opinion of this Court.
               IT IS FURTHER ORDERED that each party bear its own costs
        on appeal.




                                              2
Case Case: 21-30505   Document:
     2:21-cv-00778-TAD-KK       00516503144
                          Document             Page: 1 Page
                                    224 Filed 10/11/22  Date3Filed:
                                                              of 1110/11/2022
                                                                    PageID #: 7773




                United States Court of Appeals
                                       u
                     for the Fifth Circuit                                  United States Court of Appeals
                                                                                     Fifth Circuit

                                                                                   FILED
                                                                             August 17, 2022
                                        No. 21-30505                          Lyle W. Cayce
                                                                                   Clerk

        State of Louisiana; State of Alabama; State of Alaska;
        State of Arkansas; State of Georgia; State of
        Mississippi; State of Missouri; State of Montana; State
        of Nebraska; State of Oklahoma; State of Texas; State
        of Utah; State of West Virginia,

                                                                 Plaintiffs—Appellees,

                                            versus

        Joseph R. Biden, Jr., in his official capacity as President of the United
        States; Deb Haaland, in her official capacity as Secretary of the Interior;
        Michael Nedd, in his official capacity as Deputy Director of the Bureau of
        Land Management; Chad Padgett, in his official capacity as Director of
        the Bureau of Land Management Alaska Office; Raymond Suazo, in his
        official capacity as Director for the Bureau of Land Management Arizona Office;
        Karen Mouritsen, in her official capacity as Director for the Bureau of
        Land Management California Office; Jamie Connell, in his official
        capacity as Director for the Bureau of Land Management Colorado Office;
        Mitchell Leverette, in his official capacity as Director for the Bureau of
        Land Management Eastern States Office; John Ruhs, in his official capacity
        as Director for the Bureau of Land Management Idaho Office; John
        Mehlhoff, in his official capacity as Director for the Bureau of Land
        Management Montana-Dakotas Office; Jon Raby, in his official capacity as
        Director for the Bureau of Land Management Nevada Office; Steve Wells,
        in his official capacity as Director for the Bureau of Land Management New
        Mexico Office; Barry Bushue, in his official capacity as Director for the
        Bureau of Land Management Oregon-Washington Office; Greg Sheehan,
        in his official capacity as Director for the Bureau of Land Management Utah
        Office; Kim Liebhauser, in her official capacity as Director for the Bureau
Case Case: 21-30505   Document:
     2:21-cv-00778-TAD-KK       00516503144
                          Document             Page: 2 Page
                                    224 Filed 10/11/22  Date4Filed:
                                                              of 1110/11/2022
                                                                    PageID #: 7774
                                            No. 21-30505


        of Land Management Wyoming Office; Amanda Lefton, in her official
        capacity as Director of the Bureau of Ocean Energy Management; Michael
        Celata, in his official capacity as Regional Director of the Bureau of Ocean
        Energy Management Gulf of Mexico Office; Lars Herbst, in his official
        capacity as Regional Director of the Bureau of Safety and Environmental
        Enforcement Gulf of Mexico OCS Office; Mark Fesmire, in his official
        capacity as Regional Director of the Bureau of Safety and Environmental
        Enforcement Alaska and Pacific Office,

                                                                 Defendants—Appellants.


                         Appeal from the United States District Court
                            for the Western District of Louisiana
                                   USDC No. 2:21-CV-778


        Before Higginbotham, Dennis, and Graves, Circuit Judges.
        Patrick E. Higginbotham, Circuit Judge:
               The district court issued a nationwide preliminary injunction
        enjoining President Biden and various Department of Interior officials (the
        “Government”) from pausing oil and gas lease sales. Because the district
        court’s order and accompanying memorandum lack specificity, we vacate
        and remand.
                                                 I.
               On January 20, 2021, Acting Secretary of the Interior Scott de la Vega
        suspended delegated authority “[t]o issue any onshore or offshore fossil fuel
        authorization . . . .” On January 27, 2021, President Biden issued Executive
        Order 14,008. 1 This case centers on Section 208 of the Executive Order,
        which includes the following:



               1
                   Tackling the Climate Crisis at Home and Abroad, 86 Fed. Reg. 7619, 7624–25
        (Jan. 27, 2021).




                                                 2
Case Case: 21-30505   Document:
     2:21-cv-00778-TAD-KK       00516503144
                          Document             Page: 3 Page
                                    224 Filed 10/11/22  Date5Filed:
                                                              of 1110/11/2022
                                                                    PageID #: 7775



                                               No. 21-30505


               To the extent consistent with applicable law, the Secretary of
               the Interior shall pause new oil and natural gas leases on public
               lands or in offshore waters pending completion of a
               comprehensive review and reconsideration of Federal oil and
               gas permitting and leasing practices in light of the Secretary of
               the Interior’s broad stewardship responsibilities over the
               public lands and in offshore waters, including potential climate
               and other impacts associated with oil and gas activities on
               public lands or in offshore waters. 2
               On the same day, the Bureau of Land Management published a fact
        sheet about the Executive Order, explaining that the pause of new oil and
        natural gas leasing did not impact existing operations and instead provided a
        chance to review the federal oil and gas program to ensure it served the public
        interest so as to “restore balance on America’s public lands and waters to
        benefit current and future generations.” 3 At the time the district court
        entered the injunction, no onshore oil and gas lease sale had been held since
        the Executive Order.
                As to offshore lease sales, the parties specifically litigate regarding
        Lease Sale 257 in the Gulf of Mexico 4 and Lease Sale 258 in Cook Inlet,
        Alaska. 5 Lease Sale 257 was held following the district court’s order. As to
        Lease Sale 258, on February 23, 2021, the Bureau of Ocean Energy
        Management cancelled the public comment period and virtual hearings per



               2
                   Id. (emphasis added).
               3
                 Fact Sheet: President Biden to Take Action to Uphold Commitment to Restore
        Balance on Public Lands and Waters, Invest in Clean Energy Future, Bureau of Land
        Management (Jan. 27, 2021), https://www.blm.gov/press-release/fact-sheet-president-
        biden-take-action-uphold-commitment-restore-balance-public-lands (last visited August 3,
        2022).
               4
                   86 Fed. Reg. 10132 (Feb. 18, 2021).
               5
                   85 Fed. Reg. 55859 (Sept. 10, 2020).




                                                     3
Case Case: 21-30505   Document:
     2:21-cv-00778-TAD-KK       00516503144
                          Document             Page: 4 Page
                                    224 Filed 10/11/22  Date6Filed:
                                                              of 1110/11/2022
                                                                    PageID #: 7776



                                                No. 21-30505


        the Executive Order, ostensibly to avoid administrative costs while the sale
        was under review. 6
                On March 24, 2021, thirteen states 7 (the “States”) filed a complaint
        seeking injunctive relief and alleging that the Department of Interior violated
        the Administrative Procedure Act by actions that were contrary to law,
        arbitrary and capricious, and for failing to go through notice and comment
        when implementing lease sale postponements or cancellations. 8 On March
        31, 2021, the States moved for a preliminary injunction, which the district
        court granted on June 15, 2021. The Government timely appealed.
                                                        II.
                As a threshold issue, we address whether the Government waived its
        argument that the injunction failed to meet Federal Rule of Civil Procedure
        Rule 65(d). 9 The Government’s opening brief argued that the injunction
        must be reversed because the injunction is tantamount to enjoining an


                6
                    86 Fed. Reg. 10994 (Feb. 23, 2021).
                7
                  The states are Alabama, Alaska, Arkansas, Georgia, Louisiana, Mississippi,
        Missouri, Montana, Nebraska, Oklahoma, Texas, Utah, and West Virginia.
                8
                   The States characterize the lease actions as “cancellations,” while the
        Government characterize them as “postponements.” The complaint included four
        additional counts that did not seek injunctive relief: two counts under the APA for unlawful
        withholding or unreasonable delay of lease sales, a Citizen Suit under the Outer Continental
        Shelf Lands Act (“OCSLA”), and an ultra vires claim which alleged that President Biden
        exceeded his authority under the Mineral Leasing Act and OCSLA.
                9
                    The Rule requires:
                Every order granting an injunction and every restraining order must:
                (A) state the reasons why it issued;
                (B) state its terms specifically; and
              (C) describe in reasonable detail--and not by referring to the complaint or other
        document--the act or acts restrained or required.




                                                        4
Case Case: 21-30505   Document:
     2:21-cv-00778-TAD-KK       00516503144
                          Document             Page: 5 Page
                                    224 Filed 10/11/22  Date7Filed:
                                                              of 1110/11/2022
                                                                    PageID #: 7777



                                                 No. 21-30505


        Executive Order, which is not subject to judicial review. The States
        countered that the district court did not enjoin the Executive Order, instead
        enjoining “the unwritten but conspicuous nationwide lease-sale BPause’ as
        final agency action reviewable under the APA.” The Government replied
        that the States mischaracterized the injunction, but that if the district court
        had found an unwritten pause, then such an injunction would fail to comply
        with Rule 65.
                The Government first invoked Rule 65 in its reply brief. Although we
        typically do not entertain arguments raised for the first time in a reply brief, 10
        we will when a new issue is raised in the appellee’s brief and the appellant
        responds in the reply brief. 11 This avoids the unfairness of the situation when
        “an appellant raises a completely new issue in its reply brief, disadvantaging
        the appellee, and for which the procedural bar concerning initial briefs was
        properly developed and utilized.” 12 Here, the States raised a new issue in
        their brief by positing the district court enjoined an unwritten pause, to which
        the Government responded in their reply brief, invoking Rule 65. Applying
        our precedent, we exercise our discretion to address the merits of the Rule
        65 issue. 13
                                                      III.
                “We review a preliminary injunction for abuse of discretion,
        reviewing findings of fact for clear error and conclusions of law de novo.” 14



                10
                     United States v. Ramirez, 557 F.3d 200, 203 (5th Cir. 2009).
                11
                     Id.
                12
                     Id.
                13
                     Id.
                14
                     Texans for Free Enter. v. Tex. Ethics Comm’n, 732 F.3d 535, 537 (5th Cir. 2013).




                                                        5
Case Case: 21-30505   Document:
     2:21-cv-00778-TAD-KK       00516503144
                          Document             Page: 6 Page
                                    224 Filed 10/11/22  Date8Filed:
                                                              of 1110/11/2022
                                                                    PageID #: 7778



                                                 No. 21-30505


        Whether an injunction fulfills the mandates of Fed. R. Civ. P. 65(d) is a
        question of law we review de novo. 15
                                                      IV.
               The district court’s order is as follows:
               IT IS THEREFORE ORDERED that [Agency Defendants]
               are hereby ENJOINED and RESTRAINED from
               implementing the Pause of new oil and natural gas leases on
               public lands or in offshore waters as set forth in [the Executive
               Order] and as set forth in all documents implementing the
               terms of said Executive Order by said defendants, as to all
               eligible lands.
               IT IS FURTHER ORDERED that the said Agency
               Defendants shall be ENJOINED and RESTRAINED from
               implementing said Pause with respect to Lease Sale 257, Lease
               Sale 258 and to all eligible onshore properties. 16

               The order enjoins implementation of the “Pause” but does not define
        that term. The district court’s accompanying memorandum defines the
        Pause without precision, leading the parties to differ in their interpretation of
        the Pause’s breadth. The Government argues that the Pause refers to and
        enjoins the Executive Order itself and the States argue that the Pause refers
        to an unwritten policy. The district court’s memorandum opens:
               The issue before this Court is whether the Plaintiff States are
               entitled to a preliminary injunction against the Government
               Defendants as a result of the implementation of a “pause” of
               new oil and natural gas leases on public lands or in offshore
               waters (“Pause”) after Executive Order 14008 was signed by


               15
                    Scott v. Schedler, 826 F.3d 207, 211 (5th Cir. 2016).
               16
                  The district court defined “Agency Defendants” as all defendants other than
        President Biden.




                                                        6
Case Case: 21-30505   Document:
     2:21-cv-00778-TAD-KK       00516503144
                          Document             Page: 7 Page
                                    224 Filed 10/11/22  Date9Filed:
                                                              of 1110/11/2022
                                                                    PageID #: 7779



                                                 No. 21-30505


                President Joseph R. Biden, Jr. (“President Biden”) on January
                27, 2021.
                This is the only place in the memorandum where “Pause” is defined
        as a term. However, the district court devoted several pages to a section
        titled, “Is there a Pause?” In that section, the district court discussed the
        Executive Order and actions of the Acting Secretary of the Interior, by the
        Bureau of Land Management and Bureau of Ocean Energy Management, and
        internal communications within the Department of Interior. The States
        contend this illustrates that the Pause is defined to encompass an unwritten
        policy of the Government. While that is a possible interpretation, the district
        court’s order did not state that with specificity. The memorandum did not
        refer to an unwritten policy when it defined “Pause,” and the section titled,
        “Is there a Pause?” did not state whether the Pause was unwritten.
                To comply with Rule 65(d) a district court’s order should state its
        terms specifically and describe in reasonable detail the conduct restrained or
        required. 17 This drafting standard means “that an ordinary person reading
        the court’s order should be able to ascertain from the document itself exactly
        what conduct is proscribed.” 18 “The rule embodies the elementary due
        process requirement of notice.” 19 The Supreme Court has repeatedly
        emphasized that “the specificity provisions of Rule 65(d) are no mere
        technical requirements.” 20 “The Rule was designed to prevent uncertainty



                17
                   Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 586
        (5th Cir. 2013) (quoting FED. R. CIV. P. 65(d)).
                18
                   U. S. Steel Corp. v. United Mine Workers of Am., 519 F.2d 1236, 1246 n.20 (5th
        Cir. 1975) (quoting WRIGHT & MILLER, FEDERAL PRACTICE & PROCEDURE § 2955 at 536–
        37 (1973)).
                19
                     Id. at 1246.
                20
                     Schmidt v. Lessard, 414 U.S. 473, 476 (1974).




                                                       7
     Case: 21-30505    Document:
Case 2:21-cv-00778-TAD-KK        00516503144
                           Document            Page: 8 Page
                                    224 Filed 10/11/22  Date10
                                                             Filed:
                                                               of 1110/11/2022
                                                                     PageID #: 7780



                                                No. 21-30505


        and confusion on the part of those faced with injunctive orders, and to avoid
        the possible founding of a contempt citation on a decree too vague to be
        understood.” 21
               The present injunction fails to meet Rule 65(d) requirements. We
        cannot reach the merits of the Government’s challenge when we cannot
        ascertain from the record what conduct—an unwritten agency policy, a
        written policy outside of the Executive Order, or the Executive Order itself—
        is enjoined. Our review of APA claims must begin by determining if there was
        final agency action. 22 Where, as here, it is unclear what final agency action
        the district court predicated its order upon, we are unable to reach the merits
        of the appeal.
                                                     V.
               The order below does not satisfy the requirements of Rule 65(d).
        Accordingly, we VACATE the judgment of the district court and REMAND
        the case to that court for further proceedings consistent with this opinion.




               21
                    Id.
               22
                    Bennett v. Spear, 520 U.S. 154, 177–78 (1997).




                                                      8
     Case: 21-30505    Document:
Case 2:21-cv-00778-TAD-KK        00516503152
                           Document            Page: 1 Page
                                    224 Filed 10/11/22  Date11
                                                             Filed:
                                                               of 1110/11/2022
                                                                     PageID #: 7781




                      United States Court of Appeals
                                    FIFTH CIRCUIT
                                 OFFICE OF THE CLERK
   LYLE W. CAYCE                                                  TEL. 504-310-7700
   CLERK                                                       600 S. MAESTRI PLACE,
                                                                       Suite 115
                                                              NEW ORLEANS, LA 70130

                                October 11, 2022


   Mr. Tony R. Moore
   Western District of Louisiana, Lake Charles
   United States District Court
   300 Fannin Street
   Suite 1167
   Shreveport, LA 71101-0000

         No. 21-30505     State of Louisiana v. Biden
                          USDC No. 2:21-CV-778


   Dear Mr. Moore,
   Enclosed is a copy of the judgment issued as the mandate and a
   copy of the court’s opinion.


                                     Sincerely,
                                     LYLE W. CAYCE, Clerk



                                     By: _________________________
                                     Connie Brown, Deputy Clerk
                                     504-310-7671
   cc:
         Mr.   Andrew Marshall Bernie
         Ms.   Victoria Elizabeth Emmerling
         Mr.   John S. Guttmann III
         Mr.   Kenneth Hugh Laborde
         Mr.   Joshua Paul Morrow
         Ms.   Elizabeth Baker Murrill
         Mr.   Michael Benjamin Schon
         Mr.   Daniel Shapiro
         Mr.   Joseph Scott St. John
